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                               UNITED STATES DISTRICT COURT
                                   DISTRICT OF VERMONT


  ADDISON CENTRAL SCHOOL
  DISTRICT, et al.

                 Plaintiffs,                                 No. 2:23-CV-164-cr

  v.

  MONSANTO CO., SOLUTIA, INC., and
  PHARMACIA LLC

                 Defendants.

               PHARMACIA LLC’S CORPORATE DISCLOSURE STATEMENT

       Pursuant to Fed. R. Civ. P. 7.1 and Local Rule 7.1, Defendant Pharmacia LLC makes the

following disclosures:

       1.      Pharmacia LLC is a Delaware limited liability company. Pharmacia LLC is an

               indirect, wholly owned subsidiary of Pfizer Inc.

       2.      Pfizer Inc. is a publicly held corporation and no publicly-held corporation owns

               10% or more of its stock.

       Dated at Burlington, Vermont this 27th day of July, 2023.

                                             PHARMACIA LLC

                                     By:      /s/ Alexandrea L. Nelson
                                             SHEEHY FURLONG & BEHM, P.C.
                                             Ian P. Carleton
                                             Devin T. McKnight
                                             Alexandrea L. Nelson
                                             Hannah C. Waite
                                             30 Main Street, 6th Floor, PO Box 66
                                             Burlington, VT 05402-0066
                                             (802) 864-9891
                                             icarleton@sheeheyvt.com
                                             dmknight@sheeheyvt.com
                                             anelson@sheeheyvt.com
                                             hwaite@sheeheyvt.com
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                           SHOOK, HARDY & BACON L.L.P.
                           Thomas M. Goutman (pro hac vice pending)
                           Richard L. Campbell (pro hac vice pending)
                           Stephen I. Hansen (pro hac vice pending)
                           One Federal Street, Suite 2540
                           Boston, MA 02110
                           (617) 531-1411
                           tgoutman@shb.com
                           rcampbell@shb.com
                           sihansen@shb.com




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